           Case 1:15-vv-00084-UNJ Document 38 Filed 05/06/16 Page 1 of 2




        In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                              No. 15-84V
                                       Filed: February 17, 2016
                                              Unpublished
*********************************
ANGELIKA BELGRADE,                                 *
                                                   *
                         Petitioner,               *
                 v.                                *
                                                   *       Attorney Fees and Costs; Stipulation
SECRETARY OF HEALTH AND                            *
HUMAN SERVICES,                                    *
                                                   *
                         Respondent.               *
                                 *
*********************************
Paul R. Brazil, Muller Brazil, LLP, Philadelphia, PA, for petitioner.
Michael Milmoe, U.S. Department of Justice, Washington, DC, for respondent.

                        DECISION ON ATTORNEY FEES AND COSTS1

Dorsey, Chief Special Master:

        On January 27, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act”]. Petitioner alleges that she suffered Guillain-Barré syndrome (“GBS”) as
a result of an influenza (“flu”) vaccine she received on October 31, 2013. Petition at 1.
On December 29, 2015, the undersigned issued a decision awarding compensation to
petitioner based on the parties’ stipulation.

       On February 17, 2016, the parties filed a Stipulation of Facts Regarding Final
Attorneys’ Fees and Costs. The parties stipulate to an award of $23,600.00 in
attorneys’ fees and costs. In accordance with General Order #9, petitioner’s counsel
represents that petitioner incurred no out-of-pocket expenses. Stipulation, ¶ 3.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioners have 14 days to identify
and move to redact medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:15-vv-00084-UNJ Document 38 Filed 05/06/16 Page 2 of 2




      The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42
U.S.C. § 300 aa-15(e). The undersigned finds the proposed amount to be reasonable.

      Accordingly, I award the total $23,600.003 as a lump sum in the form of a
check jointly payable to petitioner and petitioner’s counsel Paul R. Brazil.

        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                 s/Nora Beth Dorsey
                                                 Nora Beth Dorsey
                                                 Chief Special Master




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, 42 U.S.C. § 300aa-15(e)(3) prevents an attorney from charging or collecting fees (including
costs) that would be in addition to the amount awarded herein. See generally Beck v. Sec’y, HHS, 924
F.2d 1029 (Fed. Cir.1991).

4Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review.
See Vaccine Rule 11(a).


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